Case 1:19-cr-00804-VEC Document 135

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA, ;

 

-against-
ZHONGSAN LIU,

Defendant.
oe

 

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19-CR-804 (VEC)

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MEMORANDUM OPINION & ORDER

 
